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iN CLERKS OFFICE

OFFICE OF THE ATTORNEY GENERAL
MASSACHUSETTS GENERAL LAWS Ch.258, §4 2022 OCT. 27 AM HI: 4O

 

 

 

PRESENT MENT CLAIM FORM
TRIAG. SUR :
ATTORNEY GENERAL One g. t TPIS.
Boston, 210 ;
CLAIMANT INFORMATION 617-727-2200
— | / _
Name: /everd an Versi %
Telephone Hs): 7 F/- SSF - AUCH a
Address: ys wow th) Ca 2 = Ef Corre peer + fe for ( eli ty

 

If Claimant is an insurance company, name of subrogee:

 

CLAIM AGAINST
Name of Commonwealth Agency Involved (if applicable):
Name of Commonwealth Employee Involved (if applicable):
Registration # of Commonwealth Vehicle (xf applicable):

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Was 2 Police Report Completed? YES__' NO (If yes, please attach)
NATURE OF CLAIM: Please describe your claim. (Continue on additional pages if necessary.)
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(uarrent. Medcat Mal Vractice Souun | Assaestts
rae ct Cle weld 5
OTHER INFORMATION
Date of Incident:
Location of Incident bah Se | Vedrore 3 A lyri, Vi vero 14 Corn dy Corre en }
E me el be h
Read this important notice and sign your presentment claim. 7

« Under most circumstances, your presentment claim will be considered a public record
and will be available to any member of the public upon request

» Twunderstand that when I submit this presentment claim the Attomey General's Office
cannot give me legal advice and cannot act as my pers onal lawyer.

« I certify that the information contained in this presentment claim is tme to the best of my

 

knowledge.
Signed: __ eval LECHEn Date: /0/20/E ©
Printed Name: ~ Jona {ws Vecrier —

 

*Please note: Whether using this form or not, presentment claims must be made in accordance with
the requirements of M.G.L. Ch. 258. The Attorney General’s Office cannot provide you with legal
advice or act 2s your attorney. If you have questions concerning the specific application or
interpretation of the law, please consult with a private attormey.

FOR AGO USE ONLY:
DATE PRESENTMENT RECEIVED. CASE MANAGEMENT NUMBER
SIX MONTH DATE EXECUTIVE OFFICE:

 

 

SOL DATE

 
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|. ACCESS AND FAIRNESS

A. Will stereotypes or bias play a role in how | am treated in court?

No. Stereotypes and bias based on race, gender, religion, national origin, ethnicity,
disability, age, sexual orientation and economic status have no place in the treatment of
people or the handling of cases in the courts.

You have the right to be treated with fairness, respect and courtesy by everyone you
encounter in the legal system. If you feel you have not been treated fairly and
respectfully; you should speak up.

In turn, you have the responsibility to treat everyone you encounter in the legal system
with fairness, respect, and courtesy. Behavior that is disrespectful toward the court or
any individual involved in the court process will not be tolerated.

B. If | have a disability, will accommodations be made for me?

fr :

‘Yes. The Massachusetts courts do not discriminate on the basis of disability. Parties,
lawyers, employees, and members of the public are entitled to access all court
programs, activities, and services without regard to disability.

Each court has designated an employee to be the Americans with Disabilities Act (ADA) 1
Coordinator. Please contact the court before your court date if you anticipate that you © :
will require an accommodation in order to gain acces to the court building or to fully

participate in any court proceeding or service. a a
fi

Cc. IfI need an interpreter, will one be provided?

Yes. Everyone in the Commonwealth has the right to equal access io the courts and
the right to the assistance of a court interpreter throughout any legal proceeding.

lf you have a limited ability to understand or speak English or are hearing impaired, you
should ask that an interpreter be appointed for you.as early in the process as possible.
[tis the judge who will appoint or accept an interpreter. The most important thing the
judge will consider is how well you speak and understand English.

A court interpreter is a trained professional who speaks your language and will interpret
exactly what you say and what is said to you. The interpreter will keep everything said
confidential and will remain impartial, without forming or expressing any personal
opinions about your case.

 
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A court interpreter cannot give you legal advice, explain things to you or have personal
conversations with you. If you require assistance completing a court form, the court
interpreter can “sight translate” the form. The court interpreter cannot, however, explain
the meaning of terms or assist in making calculations on a form. The court interpreter
may only translate the words that appear on the form.

The Trial Court's Office of Court Interpreter Services provides free professional court
interpreters for all court proceedings. Sometimes, it will take time to arrange for a court

interpreter and your case will need to be postponed to a date when a court interpreter is
available.

 
